                                Case 22-14766-SMG                      Doc 98           Filed 01/07/23              Page 1 of 4
                                                               United States Bankruptcy Court
                                                                Southern District of Florida
In re:                                                                                                                  Case No. 22-14766-SMG
Ralph Levi Sanders, Jr.                                                                                                 Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 05, 2023                                                Form ID: pdf004                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 07, 2023:
Recip ID                 Recipient Name and Address
db                     + Ralph Levi Sanders, Jr., 561 SW 60 Ave., Plantation, FL 33317-3947

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 07, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 5, 2023 at the address(es) listed
below:
Name                               Email Address
Gavin N Stewart
                                   on behalf of Creditor Specialized Loan Servicing LLC bk@stewartlegalgroup.com

Office of the US Trustee
                                   USTPRegion21.MM.ECF@usdoj.gov

Raychelle A Tasher
                                   on behalf of Creditor United States of America Small Business Administration Raychelle.Tasher@usdoj.gov,
                                   Milton.Pacheco@usdoj.gov;Shannon.Patterson@usdoj.gov

Raychelle A Tasher
                                   on behalf of Creditor United States of America Internal Revenue Service Raychelle.Tasher@usdoj.gov
                                   Milton.Pacheco@usdoj.gov;Shannon.Patterson@usdoj.gov

Robin R Weiner
                                   ecf@ch13weiner.com ecf2@ch13weiner.com
                          Case 22-14766-SMG   Doc 98     Filed 01/07/23   Page 2 of 4
District/off: 113C-0                          User: admin                                Page 2 of 2
Date Rcvd: Jan 05, 2023                       Form ID: pdf004                           Total Noticed: 1
TOTAL: 5
                         Case 22-14766-SMG       Doc 98    Filed 01/07/23     Page 3 of 4




         ORDERED in the Southern District of Florida on January 4, 2023.



                                           Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

         In re:                                               Case No. 22-14766-SMG

         RALPH LEVI SANDERS, JR.,                             Chapter 13

              Debtor.
         _______________________________/

                     ORDER DENYING MOTION TO STAY PENDING APPEAL

                  This matter came before the Court for a hearing on January 4, 2023, at 10:30

         a.m.,1 to consider Pro Se Debtor Ralph Levi Sanders’ Motion to Stay Pending Appeal. 2

         Mr. Sanders failed to appear at the hearing. For the reasons stated on the record, the

         Motion to Stay Pending Appeal is DENIED both on the merits and for failure to

         prosecute.

                                                  ###




         1 ECF No. 93.
         2 ECF No. 92.
            Case 22-14766-SMG          Doc 98        Filed 01/07/23   Page 4 of 4



Copies Furnished to:
Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

Robin Weiner, Chapter 7 Trustee

AUST

All other interested parties by the Clerk of Court




                                          2
